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14    UNITED STATES OF AMERICA
15                               UNITED STATES DISTRICT COURT
16                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
17                                    SOUTHERN DIVISION
18
      UNITED STATES OF AMERICA,              NO. 8:19-CR-00061-JVS (KESx)
19                Plaintiff,                 RESPONSE TO REQUEST FOR
20                       v.                  PROCEDURES FOR THE SALE OF
21    MICHAEL AVENATTI,                      ONE HONDA JET.
22            Defendant.
23
24    ALEXIS GARDNER; JASON FRANK
      LAW, PLC; SPRING CREEK
25    RESEARCH, LLC; AND RICHARD
26    A. MARSHACK, CHAPTER 7
      TRUSTEE FOR EAGAN AVENATTI,
27    LLP,
28                Petitioners.
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1           On July 25, 2023, the Court ordered that the parties meet, confer, and submit a
2     proposed order within seven days for procedures governing the sale of the seized
3     HondaJet. ECF 1125. The Court further ordered that if the parties have alternative
4     views, they shall be reflected in a single proposed order. Following the Court’s order,
5     the petitioners exchanged email messages discussing each party’s views.
6           On August 1, 2023, the parties filed a joint application seeking additional time to
7     develop a proposal for the sale, in part because the government needed time to confer
8     with Special Agent Bryan Starek and officials of the Internal Revenue Service –
9     Criminal Investigation (“IRS-CI”) and officials in the Treasury Executive Office for
10    Asset Forfeiture (“TEOAF”) regarding the feasibility of petitioners’ request to have a
11    private broker sell the HondaJet (the “aircraft”).1 On August 2, 2023, the Court entered
12    an order giving the parties until September 1, 2023, to file a proposed order for
13    procedures governing the sale. ECF 1128. On August 28, 2023, government counsel
14    shared with the four petitioners’ counsel a draft of this Response to Request for
15    Procedures for the Sale of One Honda Jet and supporting materials. As of this filing, no
16    petitioner has noted its opposition to this response.
17          Discussions with IRS-CI and TEOAF
18          In the weeks following the Court’s order, government counsel engaged with IRS-
19    CI and TEOAF representatives to determine the Treasury Department’s contractual
20    obligations and administrative concerns. During these discussions, government counsel
21    shared the petitioners’ opinion that a third-party private broker who specialized in the
22    sale of jet aircraft would be better positioned to realize the highest sales price for the
23    Honda Jet, rather than by the third-party contractor already storing and maintaining it.
24    See Declaration of James E. Dochterman attached hereto as Exhibit A. The government
25    requested, and was provided, a description of the third-party contractor’s sales plan, so
26
27          1 TEOAF is the agency within the United States Department of the Treasury that
      administers the Treasury Forfeiture Fund (“TFF”). The TFF is the receipt account for
28    deposit of non-tax forfeitures made pursuant to laws enforced or administered by
      Treasury and Department of Homeland Security agencies.

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1     as to present it to petitioners and consider the relative merits of a standard governmental
2     sale versus sale by a third-party private broker. See Sales Plan, Exhibit C.
3           The IRS-CI response is set forth in the Declaration of Mr. Frank Castillo. See
4     Declaration of Mr. Frank Castillo, Exhibit B. Mr. Castillo is the Director of the Asset
5     Recovery and Investigation Services (“ARIS”) section of IRS-CI in Washington, D.C.,
6     and in this capacity he is responsible for actively participating in the formulation and
7     development of IRS-CI programs and policies affecting national and field office
8     operations relating to ARIS.
9           As Mr. Castillo states, when investigations result in the seizure of certain real and
10    personal property assets, IRS-CI utilizes TEOAF contractors, managed by ARIS, to
11    store, maintain, and dispose of those assets in its normal course of business. However,
12    IRS-CI does not utilize outside brokers to dispose of personal property. Mr. Castillo
13    adds that given the TEOAF contractors’ proven track record and IRS-CI’s extensive
14    experience with facilitating the management and disposition of seized property, his
15    office found no compelling reason why IRS-CI should deviate from its standard practice,
16    and incur the possible additional costs, delays, interference with contractual obligations,
17    or other possible unforeseen consequences to the government that could potentially arise
18    from this change in its standard practice. Therefore, the IRS-CI requests that it not be
19    ordered to release the aircraft for sale by a private broker.
20          Concurrently, Special Agent Bryan Starek provided government counsel with
21    materials prepared by Amentum and CWS Marketing Group, the third-party contractors
22    for the aircraft. Exhibit C. The provided materials include a detailed advertising and
23    sales plan. Amentum also provided current estimated storage and maintenance costs, in
24    the amount of $185,525.47, which will be due to Amentum at the conclusion of the sale.
25    The marketing plan includes a six to eight week pre-sale marketing campaign during
26    which Amentum would strategically target business-class and luxury aircraft dealers,
27    corporate charter services, aircraft enthusiasts, industry news sources, and use select
28    print advertising, news media auction announcements and press releases. Amentum will



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1     seek to advertise the aircraft in publications such as Business Air, JetNet, AV Buyer,
2     Trade-A-Plane and Global Air.
3           Based on a review of the third-party marketing plan and discussions with IRS-CI
4     and TEOAF, the government asserts that sale of the aircraft by an as-yet-unnamed
5     broker of unknown reliability and reputation does not guarantee a sale price reasonably
6     expected to exceed the sale price of an already contracted and experienced third party
7     who has to this point maintained the aircraft well, and demonstrated its intent to seek a
8     favorable outcome. Furthermore, pursuing a sale through an unknown third party could
9     create unnecessary and avoidable burdens that would be shouldered entirely by the
10    government. As such, the government proposes that the Court authorize the government
11    to instruct the current third-party TEOAF contractor to initiate the proposed advertising
12    and sales plan, the sale to be completed within 120 days.
13    DATED: September 1, 2023               E. MARTIN ESTRADA
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